             Case 2:15-cr-00083-RAJ Document 139 Filed 10/20/20 Page 1 of 1




                                                                HON. RICHARD A. JONES
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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE
 8
     UNITED STATES OF AMERICA,                  )   No. CR15-083-RAJ
 9                                              )
                    Plaintiff,                  )
10                                              )   ORDER GRANTING
               v.                               )   MOTION TO FILE
11                                              )   OVERLENGTH MOTION
     ANDREW LEE HARRIS,                         )
12                                              )
                    Defendant.                  )
13                                              )
14
15         This matter has come before the Court on Mr. Harris’ motion to file an
16   overlength motion for compassionate release. The Court, having considered the motion
17   and the records herein, and finding good cause,
18         IT IS NOW ORDERED that Mr. Harris’ motion to file an overlength motion
19   (Dkt. #135) is GRANTED.
20         DATED this 20th day of October, 2020.
21
22
23
                                                       A
24                                                     The Honorable Richard A. Jones
                                                       United States District Judge
25
26

                                                               FEDERAL PUBLIC DEFENDER
       ORDER GRANTING MOTION TO FILE                              1601 Fifth Avenue, Suite 700
       OVERLENGTH MOTION                                            Seattle, Washington 98101
       (USA v. Harris, CR15-083-RAJ) - 1                                       (206) 553-1100
